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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                      IN TH E U N ITED STA TES DISTR IC T C O U R T                August 08, 2016
                      FOR THE SO UTH ERN DISTRICT OF TEX AS                       David J. Bradley, Clerk

                                  H O U STO N D IV ISIO N

UN ITED STA TES O F AM ERIC A ,

              Plaintiff-Respondent,


VS.                                                CRIM INAL ACTION N O.H-11-165-5
                                                   CIV IL A CTION N O.11-15-1481


N ATH AN IEL G ORD ON ,111,

              Defendant-M ovant.

              M EM O R AND U M A ND O PIN IO N G M N TIN G M O TIO N TO
                     DENY j2255M OTION AND TO DISM ISS CASE
       This m otion arises from a large-scale and prolonged m ortgage-loan fraud criminal

prosecution.NathanielGordon pleaded guilty to conspiracyto comm itm ail,wire,and bank fraud,

and conspiracy to comm itmoney laundering in connection with them ortgage-loan fraud scheme,

inviolationof18U.S.C.jj1341,1343,1344,and 1349(countone),and j 1956(h)(counttwo).
Hispleaagreement,enteredunderRule 11(c)(1)(B),includedawaiverofhisrightstoappealand
tofile collateralchallenges.Aftera detailed and lengthy colloquy,thecourtfbund thatGordon's

plea w asknow ingly and voluntarily m ade and accepted the plea.

       The Sentencing Guidelinesrange thatresulted was 63 to 78 months. Thatincluded an

offense levelbased on holding Gordon accountable fora fraud loss of$1,656,810.00. He was
deem ed an average participantin an extensive schem e thathad atleastfourvictim sand atleastfive

pm icipants. Gordon wasa loan officerwith the Gordon FinancialGroup and arealestate agent.

His offense levelincluded an enhancem entfor abusing his position oftnlst as a loan ofticer.
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Althoughthefraud lossresulted from l0transactions,fewerthan someoftheotherdefendantshad

engaged in,thelossam ountswere significant.Thecourtdid notimposeatine butordered Gordon

topayatotalof$1,656,810inrestitution,jointlyand severallywithotherdefendants.
        The government moved for a below-Guideline sentence based on Gordon's substantial

assistance and recom m ended a 42-m onth sentence. Afterallocution,the courtsentenced G ordon

underj33534a)toserve24monthsincustody.Gordondidnotappeal.Instead,onedaybeforethe
deadlineforfiling anotice ofappeal,hefiled an unrepresented SçM otion toReconsiderSentence.''

(DocketEntryNo.377),Two dayslater,histrialcounsel,LonnieKnowles,movedtowithdraw,
stating thatGordon had released him ascounselandthatanew lawyerhad entered an appearance

forGordon. Thecourtgranted themotion towithdraw butdeniedthem otion to reconsider.

        ln his # 2255 motion,Gordon allegesthatKnowles provided ineffective assistance at
sentencing and in failing to appeal.Therecordclearly showsthatKnowlesprovided constitutionally

effective assistance,and Gordon has failed to show otherwise. The record also clearly show sthat

G ordon's plea w as voluntary and inform ed and that his w aiver of his appellate and collateral-

challengerightsisenforceable.Hisj2255 motion failsasamatteroflaw. The government's
motiontodismissCivilActionNo.15-1481isgranted,and Gordon'sj2255motionin Criminal
A ction N o.11-165 is denied. The reasonsforthese rulings are explained below .

1.      Background

        ln hisplea agreement,Gordon agreed to the following factualbasis,which described his

involvem entin the m ortgage-loan fraud schem e:

        17. D efendantispleading guilty because he isguilty ofthe chargescontained in
        CountsOne and Tw o ofthe Superseding lndictm ent. Ifthis case w ere to proceed to
        trial,theU nited Statescould prove each elem entofthe offensesbeyond areasonable
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   doubt. The follow ing facts, am ong others would be otlkred to establish the
   defendant'sguilt:

   Thedefendant,NathanielGORDON I1l(hereinafterGORDONI,participatedinthe
   m ortgage fraud schem e alleged in CountOne ofthe indictm entas a loan ofticer,as
   wellasaborrowerand seller.Heworked inthelendingindustryasaloanofficerin
   Gordon FinancialGroup and asarelatoratTaurusRealty. GORDON utilized his
   contacts within the lending industry to obtain m ortgage loans by fraud.

   Residentialm ortgage loanswere applied forusing m aterialfalse information and
   m isrepresentations regarding the borrow er's creditworthiness. The deceptions
   regarding bonowercreditworthinessincluded butwerenotlim ited to employm ent,
   income, cash cm deposit, and indebtedness. The debt to income ratio was
   m anipulatedto m aketheborrow er'sloan application fitw ithinthelending guidelines
   ofthelender.Typicallytheincomewasinflatedand/ortheborrower'sindebtedness
   w as notdisclosed. G O RDO N knew ofthe false nature ofthe inform ation provided
   intheloan subm issionsand knew and had reason tobelieveitwould be materialto
   the Lenders'decisionsto fund the m ortgage loans.

   lndividualswith good creditwererecruitedto actasborrowersinthesetransactions.
   The borrowersw ere recnzited asrealestate investorsw hose only investm entin the
   transactionw ouldbetheirgoodcredit.Frequently,theloansweresubm ittedwiththe
   false representation thatthe purchase w as for the borrow er's prim ary residence so
   that 100% financing could be obtained. Funds needed to close the transaction,
   including earnest m oney and buyer closing costs, w ere paid by one of the
   conspirators in a fashion which made itappear thatthe source offunds wasthe
   borrow er. The borrowers were paid w ith proceeds from the fraud for their
   participation in the acquisition oftheproperty.

   The fraudulent loan applications and supporting docum ents w ere fum ished to the
   lendersbyUnitedStatesmailorinterstatecommercialcarrier(hereinaftermail)and
   tluoughelectronictransferssuchasE-m ailandfacsimiles.Thefalseinformationand
   m isrepresentationswerem aterialtothelenders'decisiontofundtheresidentialloans
   and underwhatconditionsthey would fund theloans.Loan transaction docum ents
   w ere also electronically transferred orm ailed to the lenders by the title com panies.
   Tofund the loans,lenderswould wiretransfertheloan fundstothetitlecom pany's
   escrow .Fed W irehascontirm ed thatthese w ire transferscrossed state linesatleast
   once when the wire moved through the FederalReserve Bank in New York,was
   settled through Fed W ire in new Jersey,and then sentto the escrow accounts ofthe
   title com panies in Texas. Som e ofthe fraudulently obtained m ortgage loans w ere
   obtained by the conspirators from lending institutionswhich were instlred by the
   FederalDepositlnsurance Corporation (FDIC)including Bank ofOklahoma,JP
   M organ Chase Bank,W ellsFargo Bank,PatriotBank,lndyM ac Bank and Flagstar


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     Bank. Themajority oftheloansobtained during the fraudulentschemefellinto
     defaultand the propertiesw ere foreclosed.

     GORDON established and usedthe assum ed nam eentitiesW ebberandA ssociates
     as w ell as Cam den Enterprises in the execution of the schem e. GO IkD ON 'S co-
     conspirators also established assum ed nam e business entitieswith corresponding
     bank accountsw hich were used during the execution ofthe schem e including J& C
     M anagem ent lnvestm ents, CC San Entep rises, Panacea Properties, W entw orth
     M anagem ent,and Chulo Constructitm .

     Thefraudulentpropertytransactionswere structured so thatloanproceedscould be
     extractedforthebenefitoftheconspiratorsandultim atelydepositedintooneorm ore
     ofthe assum ed nam ebank accounts. Thesefraudulently obtained fundswere used
     to fund future fraudulentproperty transactions,including eam estm oney paym ents
     and/orclosing costs,aswellaspay outsto conspirators.W hen aconspiratorpaid a
     borrower'sclosing costor earnestm oney,lenders were 1ed to believe the source of
     thosefundswasthe borrow er. Thepaym entsofthese expensesby aborrowerisa
     factorconsidered bylendersinevaluating theincentive ofborrowerstorepay loans.

     GORDON purchased severalpropertiesby meansoffalsestatem entsasidentified in
     thetablebelow:(k
                    s'ceD.E.123p.12fortabledetailingthretpropertiesinHouston,
     TXI. GORDON falselyclaimed to bepurchasingeach ofthesepropertiesashis
     prim aryresidence.Thesew erem aterialfalse statem entssinte itaffected the am ount
     each lenderw asw illing to lend to G ORD ON and atw hatinterestrate.



     G OR DO N also arranged for one of his business associates, W ill G am er,to sell
     severalpropertiesthroughthisschem etodefraud.Thefundsobtained from thefraud
     w eretransferred in am annerto hide and concealthetruesource ofthe funds.G am er
     w as building hom es in the Houston, Texas area which he w anted to sell at a
     prem ilzm .Straw borrowerswererecruited to purchasethepropertiesin theirnam es.
     Seller proceeds w ere collected by G am er through his Com pany W . G am er
     Enterprises. From the W .Gam erEntem risesaecountG am ersentfunds to various
     participants in the schem e including to GO RD ON who deposited the fundsinto his
     CamdenEntemrisesaccountasidentiûedbelow:gtableomittedl.
(DocketEntryNo.123,pp.9-16).
     ThePSR described Gordon'sroleand relevantconductin greatdetail.(DocketEntryNo.
287,!!7-70).


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      RelevantConductA ssessm ent

      72. The offense involved the coordination of severalpersons working in various
      capacities(i.e.loan officers,mortgagebroker,recruiters,and realestateagents)to
      furtherthecriminalobjectives.NathanielGordon,lll,workedinthelendingindustry
      asa loan officeratG ordon FinancialGroup and in realestate asan agentforTaurus
      Realty. Gordon utilized hisrelationship with a localbuilder,W illie Gam er,to
      purchase hom esatinflated valuesand to obtainkickbacksfrom thebuilderdisguised
      as real estate com m issions or other business related fees ow ed by the builder.
      Gordon participated in fraudulentloan transactionsutilizing hislicensesasa real
      estateagentand loan officer. Gordon established and used assum ed name entities
      andbankaccotmtsforthepurposeofexecutingthemortgagefraudschem e(Camden
      Enterprises,W ebber & Associates).Thepropertytransactionswerestructured so
      thatthe fraudulently obtained loan proceedscould be extracted forthebenefitofthe
      conspirators and ultimately deposited into one ormore ofthe assumed nam e bank
      accounts. These fraudulently obtained flmds were used,in part,to fund future
      fraudulentproperty transactions. The m anner in w hich these funds w ere handled
      concealedthetruesourceand natureofthefundsfrom thelenderanditwasmadeto
      appearthe fundsw erefundsthe borrow erhad on hand.By w ay ofthisexception and
      concealm ent of the fraudulent conduct, the offense is considered complex and
      intricate in nature,and w arrants an enhancem entforsophisticated m eans. G ordon
      was convicted ofmailwire and bank fraud (conspiracy) which has a 30-year
      statutorymaximum penalty,and,moneylaundering(promotionandconcealment).
      A s indicated in the chart above, Gordon is held accountable for a total loss of
      $1,656,810.00(SeeattachedChartIforspecificproperties).Gordonpm icipatedin
      only 10ofthe91fraudulentmortgagetransactions,however,thelossheisheldto is
      significantin comparison tothenumberofpropertiesattributedtothecodefendants.
      Gordon isconsidered an averageparticipantin theschem ewhich defraudedatleast
      fourvictim lendersand involved atleastfivecrim inalparticipants.A saloan officer,
      Gordon abused hisposition oftrustwith the banks,asthe false information and
      m isrepresentations G ordon m ade w ere m aterialto the lender's decision to ...fund
      the residentialloans and under whatconditions. There is no evidence thatthe
      defendantderived m ore than $1,000,000 in grossreceiptsfrom thevictim lenders.

(f#.,!72).
      Atthereanuignm ent,Gordon m adethefollowing statem entsunderoath in responseto the

court'squestionsand admonishm ents'
                                  .

      THE COU RT:           You understand that today, w hen you are talking about-
                            when you're deciding here in court,under oath,w hether to
                            plead guilty and whetherto agreeto enterthispleaagreem ent,
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                     you don'tknow forsure w hatsentence you're going to get?



   DEFENDANT GORDON : Yes,m urHonor.

   THE CO URT:       Before w e know that, there has to be a presentence
                     investigation,an interview ofeach ofyou;therehasto bea
                     report prepared and an analyses conducted of how the
                     sentencing guidelinesapplytothefactshereandtoyou.And
                     then Ihave to m ake adecision on whetherthe case should be
                     sentenced within the guidelinesorabove itorbelow itand
                     exactly how m uch tim e you oughtto get. N one ofthatw ork
                     hasbeen doneyet. Do you understand?



   DEFENDANT GORDON: (Indicating).
   THE CO URT :      And in this case, there's the added uncellainty ofthe
                     govem m ent offering to consider carefully your cooperation
                     and delay sentencing until you have an opportunity to
                     cooperate. Y ou understand that?



   DEFENDANT GORDON : Yes,yourHonor.

   THE CO URT:       But you don'tknow for sure if you're going to be able to
                     provide sufficient substantial assistance - or substantial
                     enough assistance, in the govenzm ent's eyes,to have that
                     resultin a lower sentence. Y ou understand that?



   DEFEN D AN T GO RD ON : Yes,yourH onor.


   THE COURT:        Bottom line is that if the sentence you end up getting is
                     heavierthan you expect,you can'tgetoutofyourplea on that
                     basis. You understand thatyou are stuck w ith it?




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       DEFENDANT GORDON: t'Noaudibleresponse).
       TH E CO URT :        A nd under the term s of this plea agreem ent you are really
                            stuck becauseyou aregiving upyourrightto appealfrom the
                            sentence or the w ay in which it's calculated on any ground
                            exceptthatit'shigherthan the statute allow s So,thatm eans
                            1w ould have to sentence you,bottom line - on Count 1 for
                            m ore than 30 years,Count2 for m ore than 20 years before
                            m u could have an appeal- orim pose a 5ne am ountthatwas
                            abovewhatthe statute perm itted. And we'vetold you what
                            the statute perm its. D o m u understand?



       DEFEN DA N T G O RD ON : Yes,yourH onor.

       THE C OU RT:         And you're giving up,underthisplea agreem ent,the rightto
                            file a laterchallenge - aherthe appeals are done and the
                            judgmentisfinal,to fileachallengeafterthattoeitherthe
                            conviction orthesentenceonanyground.Doyouunderstand
                            that?



       DEFEN D AN T GO RD ON : Y es,yourH onor.

       THE COURT:           So,thebottom lineisthat,in practicalterms,you really have
                            no w ay to challenge w hateversentence Igive you aslong as
                            Istay within thestatutory maximus.You understand?



       DEFEN D AN T GO RD ON : Yes,yourH onor.

(DocketEntryNo.512,pp.20-22).
       Atthe June 3,2014 sentencing,Know les again appeared on G ordon's behalf. N o party

objectedtothepresentencereport.Thegovernmentpresented itsU.S.S.G.j5K1.1motion and
asked fora 42-m onth sentence,a significantreduction from the Guideline 1ow pointof63 m onths.

Afterhearingfrom GordonandKnowles,thecourtenteredthefollowingfindingsunderj3553(a):
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       (GliventherolethatM r.Gordonplayed,giventhelevelofhisresponsibility,given
      the amountofthe fraud loss,on the onehand,butalso given hiscooperation,his
      restitution,andtheotherfactorsofwhoheis,andthe3553(a)framework,thatthe
      bestnumber1can com eup with,and 1m ust,is24 months. ldo believethatthat
      accommodatesthe guideline objectives,and atthe same timetakesinto account
      appropriatelythe35534a)factors,anditisthisCourt'sjudgment.
      M R.KNOW LES:Thank you,YourHonox.

(DocketEntryNo.510,pp.16-17).
      Atthe end ofthesentencing hearing,thecourtadm onished G ordon abouthisappellaterights:

      ldon'tbelieve there is any appellate rightthatsurvivesthe plea agreem ent. Ifyou
      believe differently,you m ustfile anotice ofintentto appealw ithin 14 daysfrom the
      datethejudgmentisentered.lfyouwantalawyertorepresentyou,youmayaskthe
      Courtto appointone. Do you understand?

(1d.,p.20). Gordon stated,underoath,inhiscounsel'spresence,thatheunderstood.Thecourt
enteredfinaljudgmenton June5,2014.
      On June 18,2014,13 days later,G ordon filed a pro se SçM otion to Reconsider Sentence.''

ltstated:

      M r.LonnieK now lesno longerrepresentsm e,IN athanielG ordon l1lam representing
      m yselfpro se.

      M otion to reconsideron the groundsthatm y law yer,Lorm ie K now les didn'tserve
      mewell.Hedid notuphold hisdutiestom easdiscussed priorto sentencing;aswe
      discussed hewasgoing to ask forhomeconfinem entbased on:

      A sentencing to includehom e confinem entw ould be in line w ith the w ay M r.Jose
      M iguelBatista wassentenced.The factthat1have paid m ore in restitution than any
      otherparticipantand thatm y lossam ountwaslessthan thatofM r.Batista,itwould
      be fairthatIwas sentenced sim ilarly to M r.Jose M iguelBatista.

      Homeconfinementwouldhaveallowedmetokeepmyjobandcontinuemakingsaid
      restitution paym ents.

      Attorney LonnieK now lesblindsightedm e byrecom m endingz4 m onthsbecause our
      manydiscussionsalwayscenteredaroundthebestwaytokeepmeoutofjailandto

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       ask for hom e confinem ent. His sentencing m em orandum w as m itten w ith the
       tecom m endation for hom e confinem ent,and he did not stick to thatw hen in the
       courtroom .

       Furtherm ore,his sentencing m em orandum w as notm itten specifically for m e;as
       much ofitwascut-and-pastefrom som eoneelse'ssentencingm emorandum ,which
       iswhy there were errorsaboutme and my background included in it,such asany
       tim e spentin the m ilitary.

       W hilelrealizeasentenceofptlrely home confinementmay nothavebeen granted,
       he should have atleastaimed forthatasdiscussed and then proposed a sentence
       sim ilarto M r.Batista,asdiscussed.

       W ith my duty to repay the victimsand my currentfamily situation (two young
       childrenandathird ontheway)1am amuchmoreproductivecitizenifallowedto
       spend m ostifnota11ofm y sentence on hom e confinem ent.

(DocketEntryNo.377).
       Thegovem m ent'sresponsepointed outthat:

       gblased upon the arguments of Gordon's counsel,Lonnie Knowles,and after
       reviewing the Sentencing M em orandum he filed on behalf ofGordon,the court
       concluded a variance from the applicable guidelinerange oflevel26 g63 to 78
       monthslwas wan'anted. ln gassessingj the sentence the courtdeparted/varied
       downward by 39 months (3 1/4 years)from the minimttm sentence under the
       SentencingGuidelinessentencingGordonto only24 monthsforeachofcountsone
       and tw o.

(DocketEntryNo.385,p.2).Thegovernmentpointed outthatCtrtlorpurposesof3582(c)(1)(B),
Rule35 oftheFederalR ule ofCrim inalProcedureonly pennitsthe courtto correctsentenceswithin

fourteen daysofsentencing thatresulted from û'arithm etical,teclm ical,orotherclearerrors''andis

clearlyinapplicable.''(1d.,pp.3-4).
       The governm entconcluded:

       G ordon'sdissatisfaction w ithhislaw yerism isplaced.The Sentencing M em orandum
       filed by counsel w as extensive and did not ask the court to im pose hom e
       confinem ent. ltw as notuntilthe C ourtsignaled during the sentencing hearing that
       hom econfinem entw astoo large avariance form the Guidelinesthatcounseltook the


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       appropriatestrategicstep ofaskingforasubstantialvariancethattheCourtwasm ore
       likely to accept. W hile not palatable to a disappointed client, counsel's
       recom m endation during sentencing w asin Gordon'sbestinterest. A rm ed w ith the
       knowledgethecourtwasnotinclined to im posehom econfnem entin Gordon'scase,
       counsel intluenced the court to im pose a substantially low er sentence than
       recom m ended by the governm ent.

(1d.,pp.5-6).ThecourtdeniedGordon'smotion.(DocketEntryNo.389).
       A few dayslater,Knowlestiled a motion to withdraw asGordon'scounsel,statingthathe

w as tkunable to effectively com m unicate w ith Defendantso as to be able to adequately represent

D efendanf';that'sD efendanthasreleased M ovantfrom any future responsibility in thiscause'';that

iiDefendanthadfiled histdpro se''M otion toReconsiderSentencing'';andthatanotherattorneyhad

entered anappearanceon Gordon'sbehalfandtiledt'Defendant,NathanielGordon,III'sM otionto

ExtendVoluntarySurrenderDate.''(DocketEntryNo.381).ThecourtgrantedCounsel'sM otion
to W ithdraw onJuly 1,2014.(DocketEntryNo.388).
       Gordon hasbeen in custody since September2014. In June2015,hefiled thisj 2255
motion,allegingineffectiveassistance in theplea,sentencing,and failureto appeal.

Il.    The A llegations and G overning Law

       A.     G ordon's Ineffective Assistance C laim s

       Gordonallegesthefollowinggroundsinhisj2255motion:
       diG round One: Ineffective assistance ofcounsel. Defense counselfailed to file an
       appealwhen lrequested thatseveralissuesaboutm ycasebereviewed.''

       'sGroundTw o:lneffectiveassistance ofcounsel. Defensecounselfailedto dispute
       and challenge the ksactualloss''am ountofrestitution thatis contributed to m e.''

       tûGround Three: V iolation ofconstitutionalRights. Conviction obtained by plea of
       guilty which wasunlawfully induced ornotm ade voluntarily orw ith tlnderstanding
       ofthe nature ofthe charge and the consequences ofthe plea.''



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       S'G round Four: lneffective assistance of counsel. D efense counsel failed to explain the
       appealprocessto m e.''

(DocketEntry No.500,pp.4-8). Thecourtordered Knowlesto file an affidavitaddressing the
alleged failuresto tdexplain the appealprocessto the defendant''and to t'file an appealwhen the

defendantrequestedthatseveralissuesabouthiscasebereviewed.''(DocketEntryNo.514,p.2;
DocketEntryNo.515,pp.1-2).Knowlestiledtherequestedaffidavit.(DocketEntryNo.518).
       B.     TheA pplicableLegalStandards

       28U.S.C.j2255providesinrelevantpartthat:
              (a1prisonerincustodyundersentenceofacourtestablishedby Act
              ofCongressclaim ingtherightto be released upon theground thatthe
              sentence wasim posed in violation ofthe Constitution orlaw softhe
              United States,orthatthecourtwaswithoutjurisdiction to impose
              such sentence,orthatthe sentence was in excessofthe maxim um
              authorized bylaw,orisotherwise subjecttocollateralattack,may
              m ove the courtwhich im posed the sentence to vacate,setaside or
              correctthe sentence.

Sûsection 2255providesthe primary meansofcollateralattack on a federalsentence. Reliefunder

thissection iswarranted forany errorthatoccurred atorpriorto sentencing.'' Cox v.W arden,Fed

DetentionCtr.,911F.2d 1111,1113(5th Cir.1990)(internalquotationsandcitationsomitted).A
j2255 motiondoesnotrequirean evidentiaryhearingifthemotionandtherecord conclusively
show thattheprisonerisnotentitledtorelief.Unitedstatesv.Bartholomew,974F.2d39,41(5th
Cir.1992).
       Toobtain collateralreliefunder28U.S.C.j2255,adefendantksmustclearasignificantly
higherhurdle''than the standard thatw ould existon directappeal.United statesv.FrtzJy,456 U .S.

152,166(1982).dtFollowingaconviction and exhaustion orwaiveroftherighttodirectappeal,
(courts)presumeadefendantstandsfairlyandfinallyconvicted.''UnitedStatesv.Cervantes,132
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F.3d 1106,1109 (5thCir.1998).ttAsaresult,review ofconvidionsunder(j12255ordinarilyis
limitedtoquestionsofconstitutionalorjurisdictionalmagnitude,whichmaynotberaised forthe
tirsttimeoncollateralreview withoutashowingofcauseandprejudice.''1d.;seealsoM assarov.
UnitedStates,538U.S.500,504(2003);Frady,456U.S.at166;UnitedStatesv.Lopez,248F.3d
427,433(5th Cir.2001);Unitedstatesv.KallestaJ 236F.3d225,227 (5thCir.2000).
       G ordon isrepresenting him self. Uncounseled pleadingsarereview ed undera lessstringent

standard than those drafted by attorneysand are entitled to a liberalconstruction that includes a1l

reasonableinferencesthatcanbedrawnfrom them.SeeEricksonv.Pardus,551U.S.89,94(2007);
Hainesv.Kerner,404 U.S.519(1972).Atthesametime,however,unrepresented litigantsare
requiredto providesufficientfactstosupporttheirclaims.Unitedstatesv.Pineda,988F.2d22,23

(5th Cir.1993). Even undertheruleofliberalconstmction,Stmere conclusoryallegationson a
criticalissueareinsufficienttoraiseaconstitutionalissue.''ld (citing Unitedstatesv.Woods,870
F.2d 285,288n.3(5th Cir.1989));seealsoRossv.Estelle,694 F.2d 1008,1011(5th Cir.1983)
(CdAbsentevidenceintherecord,acourtcannotconsiderahabeaspetitioner'sbaldassertionsona
criticalissueinhisprosepetition ...tobeofprobativeevidentiaryva1ue.'').
111.   A nalysis

       A.      TheAlleged FailuretoAppeal(GroundsOneandFour)
       Counsel'sfailureto filearequestedappealisineffectiveassistancewithouta showing that

theappealwouldhavem erit. Roev.Flores-ortega,528 U.S.470,480-86;UnitedStatesv.Tapp,

491F.3d263(5thCir.2007).Counselmustconsultwiththedefendantaboutappealwhenthereis
reason to think thata rationaldefendantw ould w antto appeal,or thatthis defendantreasonably

dem onstrated his interest in appealing. Roe,528 U .S.at480. 1f,as here,the defendantpleaded


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guilty,thatmayindicatethedefendant'sinteresttoendjudicialproceedingsandseverelylimitany
appealable issues.

       If the record supports the claim thatG ordon told K now les to appeal,G ordon w ould be

entitled to do so out-of-tim e despite hiswaiverofappellate and collateral-challenge rights oran

inabilityto identifym eritoriousgroundsthatm ightsurvivethewaiver.See Tapp,491F.3d at266.

Gordon'sj2255motionallegesthat(iDefensecounselfailedtofileanappealwhen gthedefendantl
requestedthatseveralissuesabouthiscasebereviewed,''andddDefensecounselfailedtoexplainthe

appealprocessto gthedefendantl.''(DocketEntryNo.500,pp.4,8).Knowles'saffldavitstates:
       Imm ediately followingtheJune 3,2014 sentcncing Iwasfdfired''and requested by
       M r.Gordon tandhisfamily)toceaseanddesistanyfurthereffortsonhisbehalf.I
       had no furtherdirectcontactw ith M r.Gordon,Idid notadvisehim post-sentencing
       ofany rightsto appeal.

       W ithin severaldays afterJune 3,2014 Iwascontacted by two attonw ysthathad
       apparentlyconsultedwithM r.Gordonregardingan appealofhissentence.Attorney
       LeticiaQuinonesandRandySchaefferbothspokewithmeconcerningM r.Gordon's
       circum stances. l am not sure w hat,if anything,they m ay have shared w ith him
       concerning any appealrights.

       On June 14,2014,lfiled a M otion to W ithdraw . A n Ordergranting m y M otion to
       W ithdraw w asgranted on July 1,2014.

(DocketEntryNo.518,p.1).
       K now les's affidavitis consistentw ith Gordon's m otion to reconsiderhis sentence thathe

filedonJune 17,2015,two daysbeforethedeadlinetoappeal.(DocketEntryNo.377).Gordon
stated K now les no longer represented him . Gordon alleged that K nowles had disregarded

instructionsaboutthesentencing hearing butsaid nothing aboutan appeal. Gordon'sm otion was

focusedonbeingresentencedtohomeconfinement.(1d.).
       Therecord show sno basisto inferthatarationaldefendantin Gordon's position would have


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wanted to appeal,orthatGordon reasonably showed K now lesthathe w anted to do so. See Flores-

Ortega,528 U .S.at480. The record fails to dem onstrate by a preponderance ofthe evidence that

Gordon asked Know lesto file an appealaftersentencing. To the contrary,shortly aftertheJune 3,

2014 sentencing,Gordonandhisfam ilytoldKnowlesthatheno longerrepresented Gordon and to

end furthereffortson hisbehalf.

       Gordon's conclusory allegation thathe k'requested thatseveralissues abouthis case be

review ed''isinsufticientinthefaceofthesignificantdownw ard varianceheobtained from thecourt,

below thevariancethegovernmentrecomm ended'
                                          ,andGordon'sowntilings,includinghismotion

to reconsider,which corroborates Knowles's affidavit. The record fails to show a reasonable

probability that,butforcounsel'salleged failure,G ordon would have tim ely appealed.

       There isno basisto eitherhold a hearing orgrantreliefon G ordon'sfirstand fourth claim s.

       B.     The W aiver and A lleged Ineffective A ssistance at the R earraignm ent and
              Sentencing(GroundsTwoand Three)
       A defendantm ay w aivehisrighttoappellate review andto postconviction reliefifthew aiver

wasknowingandvoluntary.SeeUnitedstatesv.O ite,307F.3d336,341(5th Cir.2002)(citing
Unitedstatesv.Wilkes,20F.3d651,653(5thCir.1994);seealso Unitedstatesv.Hernandez,234
F.3d252,254(5thCir.2000)).Thedefendantmustknow thathehadarightto seekappellateand
collateralreview andthathewasgivingupthatright.SeeUnitedstatesv.Portillo,18F.3d290,292

(5thCir.1994)(discussingwaiverofappellaterights).A claim ofineffectiveassistanceofcounsel
may survive awaiverékwhen theclaimed assistancedirectly affected the validity ofthatwaiveror

the plea itself.'' White,307 F.3d at343. As long as the plea and the waiverthem selves were

knowingand voluntaryand thecontested issueisthepropersubjectofawaiver,kltheguilty plea


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sustainsthe conviction and sentence and the w aivercan be enforced.'' ïkhite,307 F.3d at343-44.

       lneffective-assistance-of-counselclaim s can provide a basis to invalidate a w aiver. The

standard forjudging theperformanceofcounselrequiresthepetitionerto proveboth deticient
perfonnanceandresultingprejudice.Stricklandv.Washington,466U.S.668,697(1984).Descient
perfonnance isestablished by lishowgingjthatcounsel'srepresentation fellbelow an objective
standardofreasonableness.''Id at688.Toproveprejudice,Ssltlhedefendantmustshow thatthere
isareasonable probability that,butforcounsel'sunprofessionalerrors,theresultofthe proceeding

wouldhavebeendifferent.''Id at694;seealsoUnitedstatesv.Kimler,167F.3d889,893(5thCir.
1999). d<A reasonable probability is a probability sufficientto undennine confidence in the
outcom e.''Stricklan4 466 U.S.at694.
       Federalhabeas review of counsel's performance iûm ust be highly deferential''and the

review ing courtm ustClindulge a strong presum ption thatstrategic ortacticaldecisions m ade after

an adequate investigation fall within the wide range of objectively reasonable professional
assistance.''M oorev.Johnson,194F.3d586,591(5thCir.1999)(citingStricklanJ 466U.S.at
689). The federalhabeas courtmustmake every effortto eliminate the distorting effectsof
hindsight,to reconstructthe circum stances ofcounsel's challenged conduct,and to evaluate the

conductfrom counsel's perspective atthe relevanttim e. Stricklan4 466 U .S.at689;Nealv.

Puckett,286F.3d230,236-37(5thCir.2002).dtA courtmustindulgeadstrongpresumption'that
counsel'sconductfallsw ithin thew iderange ofreasonable professionalassistance because itisa11

too easy to conclude thataparticularactorom ission ofcounselw asunreasonable in theharsh light

ofhindsight.''Bellv.Cone,535U.S.685,701(2002)(citingStrickland,466U.S.at689).Federal
habeas courtspresume thattrialstrategy isobjectively reasonable unless itis clearly proven

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otherwise.StricklanJ 466 U.S.at689.

       ThesecondStricklandvçonglookstoprejudicecausedbycounsel'sdeficientperfonnance.
This requires ç$a reasonable probability that,absentthe elw rs,the facttinder w ould have had a

reasonabledoubtrespecting guilt.'' United Statesv.M ullins,315F.3d 449,456 (5th Cir.2002)
(quotingStricklan4 466 U.S.at687);Harrington v.Richter,131S.Ct.770,791(2001).çs-l-his
burden generally ism etby showingthattheoutcome oftheproceeding would havebeen different

butforcounsel's errors.''1d. A defendantmustsatisfy both Strickland prongsto succeed on an

ineffective-assistance claim . See Stricklan4 466 U .S.at697. If itispossible to dispose ofan
ineffective-assistr ce-of-counselclaim without addressing both prongs,ésthat course should be

follow ed.'' 1d.

       TheStrickland standardappliestochallengestoguiltypleasbased on ineffectiveassistance

ofcounsel.Hillv.Lockhart,474 U.S.52,58(1985).Theprejudiceprongrequiresthedefendant
to show tcthatthere is a reasonable probability that,but for counsel's errors,he w ould nothave

pleaded guilty and w ould have insisted on going to trial.'' United States v.G linsey,209 F.3d 386,

392(5thCir.2000)(quotingfockhart,474U.S.at59).
       C.      TheAlleged FailuretoChallengeRestitution (Ground Two)
       TherecordunderminesGordon'sallegationthatKnowlesfailedtoobjecttothe'kactualloss''
am ountatthe sentencing hearing. Gordon's allegations are conclusory.

       The record showsthatKnowlesdid objectto therelevantconductsetoutin the PSR,
including the $l,656,810 fraud lossattributed to Gordon and included in the restitution am ount.

KnowlesobjectedthatGordon shouldnotbeheld accountablefortheKaim Streetproperties(#49
and//50),andtheArrowwoodTrailproperty,andthatthetotallossshouldbe$959,725,areduction

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of$697,085.TherecordshowsthatKnowlesdidobjecttotheactual-lossand restitution amount.
Therecordshowsno basistoinfereitherdeficientperformanceorprejudiceon thisbasis. The
motiontodismissisgrantedwithprejudiceandwithoutleavetoamendbecauseamendmentwould
be futile.

       D.     TheAllegedlylnvoluntary Plea(GroundThree)
       ln Gordon'splea agreem ent,he agreed to w aive his rights to directly appealhis sentence

under18U.S.C.j3742($,aswellashisrighttocollaterallyattackthejudgmentofconvictionand
sentenceunder28U.S.C.j2255.(DocketEntryNo.123,!10).Aninformedandvoluntarywaiver
isenforceable.UnitedStatesv.Wilkes,20F.3d651,653(5thCir.1994).
       TheRule11(c)(1)(B)writtenpleastatedthatGordonwouldpleadguiltytoCountsOneand
TwoofthesupersedingindictmentandthegovernmentwouldagreenottoopposeGordon'srequest

foratwo-leveldownwardadjustmentforacceptanceofresponsibility,and,ifhequalified,foran
additionalone-leveladjustmentbasedontimelypleading.Thegovenunentalsoagreedtoconsider
aj5Kl.lmotionatsentencingdependingontheassistanceGordonprovided.Thegovelmmentdid
eachofthesesteps.(DocketEntryNo.123,! 13).
       The w aiverprovision in the plea agreem entstated:

       10.DefendantisawarethatTitle18,U.S.C.j3742affordsadefendanttherightto
       appealthesentenceimposed.Thedefendantagreesto waivetherightto appealthe
       sentence im posed orthe m anner in which itw as determ ined. The defendantm ay
       appealonly a sentence im posed above the statutory. A dditionally,the defendant
       isawarethatTitle28,U.S.C.j2255,affordstherighttocontestorçscollaterally
       attack''a conviction or sentence after the conviction or sentence has becom e
       final. The defendantw aives the right to contesthis conviction or sentence by
       m eans of any post-conviction proceeding.

(Id.,!10(emphasisaddedl).Thepleaagreementcontinued:


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      12.The defendantunderstandsand agreesthateach and allw aiverscontained in the
      Agreementarem ade in exchangefortheconcessionsm adeby theUnited Statesin
      thisplea agreem ent. lfthe defendantinstnlcts his attorney to file a notice ofappeal
      atthetimesentenceisim posed Oratanytim ethereafter,the United Stateswillseek
      specific perform ance ofthese provisions.

(1d.,! 12).Gordon signedthefollowingparagraphinthepleaagreement:
                           PLEA AG REEM EN T -AD D EN DU M

      1haveconsultedwith my attorneyand fully understanda11m yrightswithrespectto
      theindictm entpending againstm e.M y attorneyhasfully explained and lunderstand
      all my rights with respect to the provisions of the United States Sentencing
      Com m ission's G uidelines M anual which m ay apply in m y case. l have read and
      carefully review ed every pratofthisplea agreem entw ith m y attorney.Iunderstand
      thisagreem entand 1voluntarily agree to itsterm s.

(f#.,p.19).
      AttheJanuary 10,2012rearraignment,thecourthadGordonplacedunderoath,determ ined

thathe wasfully competentto enteraknowing,voluntary,and inform ed plea,and explained the

rightshewould begiving up by pleading guilty. Gordon acknowledged thatheunderstood these

rights.(DocketEntryNo.512,pp.6-15).Thecourtexplainedtheelementsofthechargesandthe
highestpotentialsentence,fine,andrestitutionobligations.Gordonstatedthatheunderstood.(1d.,
pp.15-l9).Hestatedthatheandhislawyerhadcarefullyreviewedthepleaagreementandhadgone
overitkdpagebypageand linebylineandevenwordbyword.''(1d.,p.19).Hehad noadditional
questionsto ask hislawyer.(.
                           JJ.). The courtreviewed theplea-agreementprovisionsin which
Gordon gaveup hisrighttoappealorcollaterally challengeanysentencewithin thestatutoryrange.

Gordonagainsaidthatheunderstood.(Id.,pp.21-22).Gordonalsostatedthatheunderstoodisthe
bottom line,''thattsinpracticalterms,ghejreally ghadlnowaytochallengethesentenceaslongas
itwaswithinthestatutorymaximum.''(1d.,p.22).Gordonacknowledgedthateverythingin the


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factualbasisabouthim w astrue and correct.H e had no changesorcorrectionshe w anted to m ake.

(1d.,pp.27-28).Heacknowledgedthathewasmakinghispleafreelyand voluntarily andthatno
onehadmadehim promisestogethim topleadguilty.(1d.4.
       The courtfound thatG ordon wasm entally com petentand capable ofentering an inform ed

plea;thatthepleaw assupported by independentfactsand established alltheelem entsoftheoffense;

thatthe plea wasvoluntarily,freely,and knowingly made;and thatGordon understood thenature

oftheproceedingsandtheconsequencesofhisguiltyplea.(f#.,p.31).Thecourtacceptedtheplea
andfoundhim guiltyaschargedinCountsOneand Two inthesupersedingindictment.(f#.).
       G ordon'ssw orn statem entsin open courtareentitled to a strongpresum ption oftruthfulness.

UnitedStatesp.fampaziane,251F.3d519,524,(5thCir.2001)(citingBlackledgev.Allison,431
U.S.63,74(1977)).TheFifthCircuitgiveskûgreatweighttothedefendant'sstatementsattheplea
colloquy.'' Unitedstatesv.Cothran,302 F.3d279,283-84(5thCir.2002).Gordon'sconclusory
allegationspreclude the reliefhe seeksand thisrecord show sthatany am endm entw ould be futile.

       Thegovernmentisentitledtoenforcethepleaagreement.Themotiontodismissthej2255
m otion and to enforcethe plea agreem entisgranted.

IV.    C onclusion

       BecauseGordon'sallegationsareconclusoryandthereisneitherafactualnorlegalbasisfor

his ineffective-assistance allegations,the claim sfailas a m atteroflaw and are dismissed. The

dismissaliswithprejudicebecausetherecordshowsthatamendmentwouldbefutile.
       A certificate of appealability is required before Gordon m ay appeal. See H allm ark v.

Johnson,118F.3d 1073,1076(5thCir.)(j2254andj2255requireacertificateofappealability),
cert.denied sub nom.Monroe v.Johnson, 522 U.S.1003 (1997). il-
                                                             l-hij is a jurisdictional

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prerequisite becausetheCOA statutemandatesthat$gulnlessa circuitjusticeorjudgeissuesa
certificate ofappealability,an appealm ay notbe taken to the courtof appeals ....''' M iller-Elv.

Cockrell,537U.S.322,336 (2003)(citing28U.S.C.j2253(c)(1)).
         A certificateofappealabilitywillnotissueunlessthedefendantmakes$çasubstantialshowing

ofthedenialofa constitutionalright''28U.S.C.j2253(c)(2). Thisrequiresthe defendantto
demonstrateSsthatreasonablejuristswouldtindthedistrictcourt'sassessmentoftheconstitutional
claimsdebatable orwrong.'' Tennard v.Dretke,542 U.S.274,282 (2004)(quoting Slack v.
McDaniel,529 U.S.473,484 (2000)). Thedefendantmustshow tûthatreasonablejuristscould
debatewhether(or,forthatmatter,agreethat)therj2255M otion)shouldhavebeenresolvedina
differentm annerorthatthe issuespresented w ere çadequate to deserve encouragem entto proceed

further.'''Nliller-El,537 U.S.at336.

         A districtcourtmay denyacertificateofappealabilityon itsown,withoutrequiring further

briefingorargument.SeeAlexanderv.Johnson,211F.3d895,898(5thCir.2000).Aftercarefully
consideringtherecord,thecourtconcludesthatjuristsofreasonwouldconcludewithoutdebatethat
Gordonhasnotstatedavalidclaim forreliefunderj2255.A certificateofappealability willnot
issue.

         Gordon isnotentitled to reliefunder28 U.S.C.j2255. Hispending j 2255 motion is
denied,(DocketEntryNo.500in11-cr-165),andthegovenunent'smotiontodismiss(DocketEntry
No.521in 11-cr-1650)isgranted.No certificateofappealabilitywillissue. Thecivilaction is
disnaissed.

                SIGN ED on A ugust8,2016,atH ouston,Texas.

                                                          #. -
                                                          Lee H .R osenthal
                                                    U nited StatesD istrictJudge


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